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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Isabel Rubinas, et al.
                                 Plaintiff,
v.                                                   Case No.: 1:21−cv−00096
                                                     Honorable Edmond E. Chang
Nicolas Maduros, et al.
                                 Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 14, 2021:


        MINUTE entry before the Honorable Edmond E. Chang: In order to give the
Plaintiffs as much time as practicable to plan in advance of the 01/15/2021 scheduled
payment to Amazon, the Court posts this entry: first, the motion for temporary restraining
order [5] is denied as to the request to prevent further levying of the Plaintiffs' bank
account, because California has represented and confirmed to the Court that it has no
immediate plans to apply a further levy on the account, and California also has agreed to
provide at least 14 days' notice in advance of attempting another levy. The motion is
further denied as to the request for the return of the previously levied $2,367.56. An
opinion shall be posted in due course explaining the denial of that aspect of the TRO
motion. Emailed notice (mw, )




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